Case 2:24-cv-00236-Z   Document 36-4   Filed 02/07/25   Page 1 of 3   PageID 404




                             EXHIBIT D
Case 2:24-cv-00236-Z                  Edward
                            Document 36-4    Andrew
                                           Filed     Paltzik, Esq.
                                                 02/07/25      Page 2 of 3                 PageID 405
                                          BOCHNER PLLC
                                          1040 Avenue of the Americas, 15TH Floor, New York, NY 10018
                                          o 516.526.0341 e edward@bochner.law w bochner.law




                                         October 29, 2024

Via Email and Expedited Mail

Gayle C. Sproul
Senior Vice President, Legal Affairs
CBS News
555 West 57th Street
New York, NY 10019
Gayle.Sproul@CBS.com

       Re:     Response to Your Reply Letter dated October 23, 2024 regarding 60 Minutes
               Interview of Vice President Harris (the “Interview”)

Dear Ms. Sproul:

I write once again on behalf of my client, President Donald J. Trump.

I am in receipt of your reply letter dated October 23, 2024, in which you falsely stated, inter alia,
that “there [is no] legal basis for your demand that we provide you with the unedited transcript of
the [60 MINUTES] Interview, which we decline to do.” You also wrongly asserted that our
“contention [] 60 MINUTES acted nefariously is entirely unfounded.” Instead, you incorrectly
claim, “the Interview was edited for time with the aim of allowing the public to hear from the Vice
President on as many subjects as possible in a 21-minute interview.”

Your obvious stonewalling is unpersuasive for three reasons, among many others: (1) The false
and deceptive manner in which CBS edited Vice President Harris’s answer to Mr. Whitaker’s
question regarding Prime Minister Netanyahu materially changed the content and meaning of her
answer, (2) Broadcasting Vice President Harris’s full response to Mr. Whitaker’s question would
have added mere seconds to the Interview, and (3) CBS’s refusal to release the unedited
transcript—a simple act of transparency that could be performed at no cost—confirms that CBS
knows it committed a wrong, and wants to hide it. Indeed, if CBS believes it doesn’t have any
exposure, why not release the unedited transcript? By refusing to release the transcript, you’ve
already answered that question—CBS is liable for one of the worst, most deceptive acts in
broadcast history.

Given your refusal to resolve this matter without litigation, this letter serves as President Trump’s
pre-suit notice under the Texas Deceptive Trade Practices-Consumer Protection Act (the



                                                 1
Case 2:24-cv-00236-Z                      Edward
                                Document 36-4    Andrew
                                               Filed     Paltzik, Esq.
                                                     02/07/25      Page 3 of 3                    PageID 406
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“DTPA”), Tex. Bus. & Comm. Code § 17.41 et seq., specifically § 17.505, that CBS’s actions with
respect to the Interview have caused President Trump to sustain economic damages,1 together with
attorneys’ fees in an amount to be determined.

Pursuant to § 17.46(a), CBS has engaged in unlawful “[f]alse, misleading, or deceptive acts or
practices in the conduct of [its] trade” in that, as laid out in § 17.46(b), CBS “caus[ed] confusion
or misunderstanding as to the source, sponsorship, approval, or certification of [its] services” and
“caus[ed] confusion or misunderstanding as to affiliation, connection, or association with, or
certification, by another.” Indeed, among other harmful effects of your wrongdoing, CBS’s
deceptive editing of the Interview has made it impossible for viewers of 60 Minutes, including
members of the American public as a whole, and residents of Texas, in particular, to discern
whether CBS was acting in its capacity as a news organization or on behalf of Vice President
Harris’s failing presidential campaign. Accordingly, CBS’s editorial misconduct is actionable
under §17.50(a)(1), and President Trump is entitled to economic damages (§17.50(b)(1)), an order
enjoining CBS’s ongoing misconduct (§17.50(b)(2)), and attorneys’ fees (§17.50(d)).

We therefore once again demand that you immediately provide and publicly release the full,
unedited transcript of the Interview, and that you pay President Trump damages as set forth above.
Additionally, I remind you that in contemplation of possible litigation, we demand that you
preserve all communications and documents relating to the Interview, together with any edits of
the Interview’s content, and that you refrain from destroying any relevant communications or
documents. We appreciate your anticipated cooperation.

All rights reserved.

                                           Sincerely,



                                           Edward Andrew Paltzik
                                           Counsel to President Donald J. Trump




1
 CBS’s distortion of the 60 Minutes Interview damaged President Trump’s fundraising and support values by several
billions of dollars, particularly in Texas.




                                                        2
